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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
------------------------------------x
JOSEPH PEPITONE,                    :              6:21 Civ. 00781 (LEK) (ATB)
                                    :
                        Plaintiff,  :
                                    :
               - against -          :
                                    :
NATIONAL BASEBALL HALL OF FAME      :
AND MUSEUM, INC.,                   :
                                    :
                        Defendant.  :
------------------------------------x




                 MEMORANDUM OF LAW IN SUPPORT OF
       DEFENDANT NATIONAL BASEBALL HALL OF FAME AND MUSEUM’S
           MOTION TO DISMISS THE COMPLAINT WITH PREJUDICE




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       Defendant the National Baseball Hall of Fame and Museum, Inc. (the “Baseball Hall of

Fame”), by and through its undersigned counsel, respectfully submits this memorandum of law,

pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, to dismiss with prejudice the

Complaint filed by Plaintiff Joseph Pepitone (“Pepitone”).

                                 PRELIMINARY STATEMENT

       This case concerns the bat that the Hall of Fame Major League Baseball player, Mickey

Mantle, used to hit his 500th career home run on May 14, 1967, at Yankee Stadium in the Bronx, New

York (the “Mantle Bat”). The Mantle Bat was inscribed with a facsimile of Pepitone’s signature and

was purportedly used by Pepitone earlier in the game. With that historic home run, Mantle became

only the sixth Major Leaguer and the first “switch hitter” (a player who bats from both sides of the

plate) to reach this milestone. Mantle was one of the greatest players to ever play the game, and

remains the all-time home run leader among switch hitters. The Mantle Bat is an important piece of

baseball history given the significance of Mantle and his accomplishment of joining the exclusive

500 home run club.

       Fittingly, the Mantle Bat was donated to the Baseball Hall of Fame by Mantle’s club, the New

York Yankees, in May 1967, days after Mantle belted his historic home run. For the past 54 years,

the Mantle Bat has remained at the Baseball Hall of Fame, where it has been proudly displayed for

millions of baseball fans across several generations to enjoy, along with countless other artifacts of

America’s pastime.

       On July 7, 2021, Joseph Pepitone, a former Major League Baseball player who played for

various teams in the 1960s and 1970s, filed this lawsuit against the Baseball Hall of Fame, demanding

millions of dollars and seeking to remove the Mantle Bat from the Baseball Hall of Fame’s permanent

collection. Pepitone, who played for the Yankees in 1967, claims in his lawsuit that he owned the

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Mantle Bat in May 1967, and that he has somehow owned it ever since that time, even though it has

been at the Baseball Hall of Fame for 54 years. Pepitone also claims that he “loaned” the Mantle Bat

to the Baseball Hall of Fame, citing nothing apart from oral conversations he claims to have had with

two people who passed away years ago, and offering no explanation for why he waited more than

five decades to come forward to claim “his” bat.

       If this case proceeded to discovery, it would be revealed as a meritless attempt to shake down

the Baseball Hall of Fame for millions of dollars by someone who did not own the Mantle Bat and

contributed nothing to the bat’s historical significance. Discovery would show that the New York

Yankees, rather than Pepitone, owned the bat and donated it outright to the Baseball Hall of Fame in

May 1967. Specifically, contemporaneous records demonstrate that the Mantle Bat was donated, not

loaned, to the Baseball Hall of Fame in May 1967 and was given a formal accession number upon

arrival—something that is done only for items that are part of the Baseball Hall of Fame’s permanent

collection. There is no record of any loan agreement for the Mantle Bat (because none exists) or any

reference in any of the Baseball Hall of Fame’s files to the Mantle Bat being anything other than a

part of the Baseball Hall of Fame’s permanent collection.

       Discovery also would make clear that the endorsement deal Pepitone cites in his Complaint

does not help him. In exchange for agreeing in 1959 that a facsimile of his signature could be placed

on certain Louisville Slugger baseball bats, Pepitone received a set of golf clubs—not a supply of

baseball bats and certainly not the Mantle Bat.

       In short, Pepitone’s claim that he loaned the Mantle Bat to the Baseball Hall of Fame, and that

it was somehow his “for the asking” every day for the last 54 years, is supported by nothing but

Pepitone’s dubious say-so. Further, Pepitone conveniently waited to lay claim to the Mantle Bat until

those in a position to contradict his story about loaning it had deceased, including Mantle, the Yankees

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public relations executive with whom Pepitone claims to have had an oral agreement that the bat

would be loaned, and the Baseball Hall of Fame employee whom Pepitone alleges told him at

unspecified times that the bat was his “for the asking.” The substantial delay in Pepitone’s seeking

to claim the Mantle Bat—which has been on public view for over a half-century—and the loss of

these critical witnesses due to that lengthy delay would prejudice the Baseball Hall of Fame and result

in dismissal of the Complaint on laches grounds at summary judgment.

       But this Court can and should dismiss this case now. That is because, in his 2010 bankruptcy

case, Pepitone admitted—with the assistance of counsel, under oath and penalty of perjury—that he

did not own or have any interest in the Mantle Bat and had no claim to it or against the Baseball Hall

of Fame. The Bankruptcy Court relied on Pepitone’s sworn representations in granting a discharge

of his debts, thereby shielding him and his remaining assets from his many creditors. As a result,

Pepitone is judicially estopped from now claiming the Mantle Bat as his, and the Complaint should

be dismissed.

       Pepitone’s sworn representations in his 2010 Bankruptcy Petition disclaiming any ownership

interest in the Mantle Bat were true and cannot be squared with the allegations in his Complaint. If

Pepitone believed the story he tells in his Complaint were true—it is not—he would have listed the

Mantle Bat as an asset in his Bankruptcy Petition.

       Pepitone’s failure to list the Mantle Bat in his Bankruptcy Petition is fatal to his ability to

bring this lawsuit. Where, as here, a debtor in bankruptcy fails to list an asset in his or her bankruptcy

petition, and the Bankruptcy Court accepts that representation by discharging the debtor from

bankruptcy, the debtor is judicially estopped from later bringing a lawsuit to recover the undisclosed

asset or receive damages relating to the undisclosed asset. To hold otherwise would be to allow



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debtors such as Pepitone to game the system, deprive creditors of assets to satisfy their debt, and

compromise the integrity of the judicial process. The Complaint should be dismissed.

                                          RELEVANT FACTS

A.      The Parties

        1.      The National Baseball Hall of Fame and Museum
        Defendant, the National Baseball Hall of Fame and Museum, Inc., is a not-for-profit

organization that operates the National Baseball Hall of Fame and Museum in Cooperstown, New

York. (Compl. ¶¶ 5, 7.) The Baseball Hall of Fame, through its Museum, “is dedicated to preserving

the history of baseball, honoring excellence in the game and connecting the generations of baseball

enthusiasts.” (Id. ¶ 8.) For over 50 years, the Baseball Hall of Fame has proudly owned and displayed

the Mantle Bat in its Museum for the public to enjoy. (Id. ¶¶ 32, 33.)

        2.      Joseph Pepitone and His Complaint
        Plaintiff, Joseph Pepitone, is a resident of New Jersey and a former baseball player who last

played in Major League Baseball in 1973. (Compl. ¶ 9.) In his Complaint, filed on July 7, 2021,

Pepitone claims that the Mantle Bat is, and since May 1967, has been, his “personal property” that

has been on “loan” to the Baseball Hall of Fame. (Id. ¶¶ 1, 24, 29-32.) In support of his claim to the

Mantle Bat, Pepitone cites only to an endorsement deal that on its face did not purport to convey

ownership of the Mantle Bat—or any bat—to him. (Id. ¶¶ 21-24; Buchanan Decl. 1 Ex. 1. 2) In support



1
  Cites to “Buchanan Decl. Ex.” are to exhibits attached to the Declaration of Michael F. Buchanan, which is
filed contemporaneously herewith. Redactions have been applied to these exhibits, consistent with the
requirements of Rule 5.2(a) of the Local Rules of Practice of the United States District Court for the
Northern District of New York.
2
 See Vazquez-Mentado v. Buitron, 995 F. Supp. 2d 93, 97 n.3 (N.D.N.Y. 2014) (“[I]n deciding a motion to
dismiss, a court can consider ‘documents incorporated by reference in the complaint.’”) (quoting Taylor v.
Vt. Dep’t of Educ.., 313 F.3d 768, 776 (2d Cir. 2002)).

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of his claim that the Mantle Bat was loaned—rather than donated outright—to the Baseball Hall of

Fame, Pepitone references a purported oral agreement with a former Yankees public relations

executive (Bob Fishel) who passed away in 1988, and purported oral assurances made to Pepitone on

unspecified dates by a former Baseball Hall of Fame employee (Bill Guilfoile) who passed away in

2016. (Compl. ¶¶ 29-31, 34.)3

B.      Pepitone Files for Bankruptcy

        On April 22, 2010, Pepitone filed for bankruptcy under Chapter 7 of the Bankruptcy Code, in

the United States Bankruptcy Court for the Eastern District of New York before the Honorable Judge

Dorothy Eisenberg. (Buchanan Decl. Ex. 2 (In re Pepitone, Ch. 7 Case No. 8-10-72883-DTE

(E.D.N.Y. Bankr., Apr. 22, 2010), ECF No. 1) (hereinafter, In re Pepitone).)                Pepitone was

represented by counsel in connection with completing and filing a bankruptcy petition, including the

related official schedules and statements of financial affairs that are required of all Chapter 7 debtors

(collectively, the “Bankruptcy Petition”). (See id. at 3, 4, 36; Buchanan Decl. Ex. 3 (ECF No. 2 in In

re Pepitone).). In his Bankruptcy Petition, Pepitone was required—under oath and on penalty of

perjury—to list all of his assets, including all personal property, collectibles and sports equipment,

whether in his custody or the custody of anyone else, any vested or contingent claims, and any

contracts of any sort.




3
 Robert O. Fishel, 74, A Baseball Executive, N.Y. TIMES. July 1, 1988, available at
https://www.nytimes.com/1988/07/01/obituaries/robert-o-fishel-74-a-baseball-executive.html (last visited
Aug. 18, 2021); William J. Guilfoile, 1931 – 2016, LEGACY.COM,
https://www.legacy.com/us/obituaries/fdlreporter/name/william-guilfoile-obituary?pid=180668237 (last
visited Aug. 18, 2021). See generally Shaut v. Sec’y of the HHS, 14 Civ. 0910 (TJM) (TWD), 2014 WL
7358648, at *1 & n.2 (N.D.N.Y. Dec. 22, 2014) (courts may take judicial notice of obituaries published on
the Internet).

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          Despite listing items of nominal value, like compact discs worth $100, and rifles worth $400,

Pepitone did not list the Mantle Bat as an asset in his Bankruptcy Petition. He did not list any claims

against the Baseball Hall of Fame or any claims concerning the Mantle Bat. He did not list any

contracts—oral, written or otherwise—with anyone concerning the Mantle Bat. For Pepitone, who

owned no real estate and claimed total cash holdings of about $550, the Mantle Bat easily would have

been his most valuable asset.

          Pepitone signed the Bankruptcy Petition in numerous places, attested that he was doing so

under penalty of perjury, and acknowledged that making false statements or concealing assets in that

filing would subject him to hundreds of thousands of dollars in fines and up to five years in federal

prison.

C.        Pepitone Does Not List the Mantle Bat in His Bankruptcy Petition

          The Bankruptcy Petition included several sections which required Pepitone to disclose his

alleged interest in the Mantle Bat. If he believed that the story in his Complaint were true, he would

have disclosed—indeed he was legally obligated to disclose—that interest in response to several of

the questions that appear in the official bankruptcy schedules. He did not.

          For example, “SCHEDULE B – PERSONAL PROPERTY” required Pepitone to “list all

personal property of . . . whatever kind” that he claimed to own as of April 22, 2010. (Buchanan

Decl. Ex. 2 at 10.) The instructions for this portion of the Bankruptcy Petition provided further: “If

the debtor has no property in one or more of the categories, place an ‘x’ in the appropriate position in

the column labeled ‘None’.” (Id.) Pepitone also was instructed as follows in this portion of the

Bankruptcy Petition: “If the property is being held for the debtor by someone else, state that person’s

name and address under ‘Description and Location of Property’.” (Id.)



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        Pepitone was required to list in Schedule B to his Bankruptcy Petition several different

“Type[s] of Property” that he owned, including several categories which would have plainly called

for the inclusion of the Mantle Bat if Pepitone actually believed the allegations that are in his

Complaint. But under each of these categories, Pepitone failed to list the Mantle Bat or any contract

or claim related to it. Specifically:

        ·   Under “Books, pictures and other art objects, antiques, stamp, coin, record, tape,
            compact disc, and other collections or collectibles,” Pepitone listed only “Compact
            Discs” valued at $100. (Buchanan Decl. Ex. 2 at 10 (emphasis added).)

        ·   Under “Firearms and sports, photographic, and other hobby equipment,” Pepitone listed
            only “3 Rifles,” which he valued at $400. (Id. (emphases added).)4

        ·   Under “Equitable or future interests, life estates, and rights or powers exercisable for
            the benefit of the debtor other than those listed in Schedule A – Real Property,”
            Pepitone placed an “X” under the column titled “NONE,” indicating that he owned no
            such property. (Id. at 11 (emphases added).)

        ·   Under “Other contingent and unliquidated claims of every nature, including tax
            refunds, counterclaims of the debtor, and rights to set off claims,” Pepitone placed an
            “X” under the column titled “NONE,” indicating that he owned no such property. (Id.
            (emphasis added).)

        ·   Under “Other personal property of any kind not already listed, ” Pepitone placed an
            “X” under the column titled “NONE,” indicating that he owned no personal property
            beyond the specific items he listed in Schedule B in his Bankruptcy Petition. (Id. at 12
            (emphasis added).)

Pepitone did not list the Mantle Bat or any contracts or claims relating to the Mantle Bat in response

to any of these questions. (See id.) Images of the relevant portions of Schedule B to Pepitone’s

Bankruptcy Petition are set forth immediately below for the Court’s convenience:




4
 In Schedule C to the Bankruptcy Petition, Pepitone again confirmed that the only “Collectibles” he owned
were “Compact Discs” valued at $100, and that the only “Sports . . . Equipment” he owned consisted of “3
Rifles” valued at $400. (Buchanan Decl. Ex. 2 at 13.)

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       In Schedule G to the Bankruptcy Petition, Pepitone was required to (a) “[d]escribe all

executory contracts of any nature and all unexpired leases of real or personal property”; (b) “[s]tate

[the] nature of [his] interest in [the] contract”; and (c) “[p]rovide the names and complete mailing

addresses of all other parties to each lease or contract described.” (Buchanan Decl. Ex. 2 at 19

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(emphasis added).) Pepitone listed only the lease for his residence and the names and address of his

landlords. (See id.) Pepitone did not list any oral contract or agreement concerning the Mantle Bat,

and did not list the Yankees, Bob Fishel, Bill Guilfoile, or the Baseball Hall of Fame as a party to any

contract or agreement. (See id.) For ease of reference, an image of the relevant portion of Schedule

G to Pepitone’s Bankruptcy Petition is set forth immediately below:




       Pepitone also represented in the Bankruptcy Petition that he owned no “property which has

been in the hands of a custodian . . . within one year immediately preceding the commencement of

this case” (Buchanan Decl. Ex. 2 at 26 (emphasis in original)) in a section titled “STATEMENT OF

FINANCIAL AFFAIRS.” An image of the relevant portion of the Statement of Financial Affairs in

Pepitone’s Bankruptcy Petition is set forth immediately below:




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D.     Pepitone Attests to the Truthfulness of His Bankruptcy Petition

       Pepitone did not make the representations in his Bankruptcy Petition lightly. Indeed, Pepitone

attested with his signature that he had “read the . . . summary and schedules” and “statement of

financial affairs” in his Bankruptcy Petition, and that those disclosures “[we]re true and correct to the

best of [his] knowledge, information, and belief.” (Buchanan Decl. Ex. 2 at 23, 31.) On three separate

instances in his Bankruptcy Petition, Pepitone declared “under penalty of perjury” that the

information he provided therein was “true and correct.” (Id. at 4, 23, 31.)

       Pepitone, who was being advised by counsel, acknowledged numerous times in his

Bankruptcy Petition with his signature that he was aware that lying in that filing carried serious

consequences. (See Buchanan Decl. Ex. 2 at 23 (“Penalty for making a false statement or concealing

property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and

3571.” (emphasis in original)); id. at 31 (“Penalty for making a false statement: Fine of up to $500,000

or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571.” (emphasis in original)).)

E.     The Bankruptcy Court Accepts and Relies Upon Pepitone’s Representations and
       Discharges Him from Bankruptcy

       On August 12, 2010, in reliance on the representations Pepitone made in his Bankruptcy

Petition, including his representation that he had no ownership interest in, contract concerning or

claim regarding, the Mantle Bat, Judge Eisenberg entered an Order granting Pepitone a discharge

pursuant to Section 727 of the Bankruptcy Code. (Buchanan Decl. Ex. 4 (ECF No. 20 in In re

Pepitone).) On August 14, 2010, the docket in the bankruptcy proceeding confirmed that Pepitone’s

many creditors had been notified that his debts had been discharged by the Bankruptcy Court.

(Buchanan Decl. Ex. 5 at 4 (ECF No. 21 in In re Pepitone).) As a result, Pepitone’s obligations to an

array of creditors were wiped out—their claims against him legally extinguished: over $130,000 in


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debt was “discharged without payment.” (Buchanan Decl. Ex. 6 at 5 (In re Pepitone Minute Entry

dated July 15, 2011).)

       On July 18, 2011, Judge Eisenberg issued a Final Decree, formally closing Pepitone’s

bankruptcy proceeding. (Buchanan Decl. Ex. 7 (ECF No. 22 in In re Pepitone).)

F.     Pepitone Files a Lawsuit Claiming to Own the Mantle Bat

       On July 7, 2021, ten years after Judge Eisenberg discharged his debts and closed his

bankruptcy case in reliance on the representations in his Bankruptcy Petition, Pepitone filed the

Complaint in the above-captioned lawsuit before this Honorable Court. (ECF No. 1.)

       In the Complaint, Pepitone alleges that the Mantle Bat is and has been his “personal property”

since at least May 1967; that he has been the “owner” of the bat that entire time; that at no time did

Pepitone ever “gift, sell, assign, or in any way transfer[] his sole ownership interest in the [Mantle]

Bat to any person or entity”; and that on any day over the last 54 years the Mantle Bat has been on

display at the Baseball Hall of Fame for baseball fans to enjoy, Pepitone had the unconditional right

to simply “ask” for “his bat” to be “returned to him at any time upon his request.” (Compl. ¶¶ 1, 11,

19, 21, 23-24, 31, 34, 35, 39.)

                                          LEGAL STANDARD

           “A party may raise a defense of . . . judicial estoppel on a motion to dismiss pursuant to Rule

12(b)(6) where the basis for that defense is set forth on the face of the complaint or established by

public record.” Julian v. Metro. Life Ins. Co., 17 Civ. 00957 (AJN), 2021 WL 1226749, at *3

(S.D.N.Y. Mar. 31, 2021) (citation and internal quotation marks omitted). In “deciding a Rule

12(b)(6) motion,” a court “may consider not only the complaint, but also any relevant documents that

may be judicially noticed.” Thomas v. JP Morgan Chase, N.A., 11 Civ. 3656 (JG) (RML), 2012 WL

2872164, at *6 (E.D.N.Y. July 11, 2012) (citing Kramer v. Time Warner Inc., 937 F.2d 767, 773 (2d

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Cir. 1991)), aff’d, 532 F. App’x 10 (2d Cir. 2013); see Staehr v. Hartford Fin. Servs. Grp., Inc., 547

F.3d 406, 426 (2d Cir. 2008) (“[M]atters judicially noticed by the District Court are not considered

matters outside the pleadings.”) Matters that may be judicially noticed include “public documents or

matters of public records.” Evans v. Epimed Int’l, 19 Civ. 805 (MAD) (CFH), 2020 WL 2497145, at

*1 n.1 (N.D.N.Y. May 14, 2020).

       It is well established that courts “may take judicial notice of documents and other related

filings made in the Bankruptcy Court.” Lapointe v. Target Corp., 16 Civ. 0216 (GTS) (CFH), 2017

WL 1397311, at *2 n.1 (N.D.N.Y. Feb. 14, 2017). Likewise, a “District Court, in taking judicial

notice of documents filed on other dockets, may then find that a litigant is judicially estopped from

taking a position contrary to one already propounded” in that previously filed document. Pu v. Russell

Publ’g Grp., Ltd., 15 Civ. 3936 (VSB), 2016 WL 9021990, at *7 (S.D.N.Y. Sept. 2, 2016), aff’d, 683

F. App’x 96 (2d Cir. 2017).

                                           ARGUMENT

I.     PEPITONE IS JUDICIALLY ESTOPPED FROM CLAIMING OWNERSHIP OF THE
       MANTLE BAT

       Pepitone’s failure to disclose or in any way reference the Mantle Bat in his Bankruptcy

Petition—representations made under penalty of perjury with the assistance of legal counsel and

adopted by the Bankruptcy Court to discharge Pepitone’s debts—judicially estops him from pursuing

the claims set forth in his Complaint. For the reasons set forth below, the Complaint should be

dismissed with prejudice.

       A.      The Law of Judicial Estoppel

       Under the doctrine of judicial estoppel, “[w]here a party assumes a certain position in a legal

proceeding, and succeeds in maintaining that position, he may not thereafter, simply because his

interests have changed, assume a contrary position.” New Hampshire v. Maine, 532 U.S. 742, 749
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(2001) (quoting Davis v. Wakelee, 156 U.S. 680, 689 (1895)). The “purpose” of judicial estoppel “is

to protect the integrity of the judicial process by prohibiting parties from deliberately changing

positions according to the exigencies of the moment.” New Hampshire, 532 U.S. at 749-50 (internal

quotation marks and citations omitted). In this District and in the Second Circuit, judicial estoppel

applies where “(1) the party against whom the estoppel is asserted took an inconsistent position in a

prior proceeding and (2) that position was adopted by the first tribunal in some manner, such as by

rendering a favorable judgment.” Lapointe, 2017 WL 1397311, at *5 (quoting Robinson v. Concentra

Health Servs., Inc., 781 F.3d 42, 45 (2d Cir. 2015)). The Second Circuit also on occasion has

examined (3) whether “the party asserting the two positions would derive an unfair advantage,”

although it “do[es] not always require a showing of unfair advantage.” BPP Illinois, LLC v. Royal

Bank of Scot. Grp. PLC, 859 F.3d 188, 194 (2d Cir. 2017) (citing In re Adelphia Recovery Trust, 634

F.3d 678, 695-96 (2d Cir. 2011).) Courts in this Circuit also consider (4) whether “allow[ing] a party

. . . to take a[n inconsistent] position” in a subsequent proceeding would pose a “risk to judicial

integrity.” Adelphia Recovery Trust v. Goldman Sachs & Co., 748 F.3d 110, 116-17 (2d Cir. 2014).

       Judicial estoppel is “routinely” applied “when a position taken in bankruptcy court is

inconsistent with the position taken in another court.” Raizberg v. JV CJSC Gulfstream Sec. Sys., 11

Civ. 8498 (KMW), 2013 WL 1245545, at *4 (S.D.N.Y. Mar. 26, 2013) (collecting cases). That is

because “[i]n the bankruptcy context, judicial estoppel protects the integrity of the bankruptcy system,

which depends on the debtor’s complete and honest disclosure of all assets.” Id.

       The Bankruptcy Code “defines the bankruptcy estate as including ‘all legal or equitable

interests of the debtor in property as of the commencement of the case.’” Chartschlaa v. Nationwide

Mut. Ins. Co., 538 F.3d 116, 122-23 (2d Cir. 2008) (quoting 11 U.S.C. § 541(a)(1)). Because “[e]very

conceivable interest of the debtor, future, nonpossessory, contingent, speculative, and derivative, is

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within the reach of § 541,” the debtor is “obligat[ed] to disclose all his [or her] interests at the

commencement of a [bankruptcy] case” and make a “full and complete disclosure of [his or her]

finances.” Chartschlaa, 538 F.3d at 122 (emphasis in original). See Adelphia Recovery Tr., 748 F.3d

at 118 (“Determination of the ownership of assets is at the core of the bankruptcy process, . . . . [and]

[i]t is . . . crucial, both for the sake of finality and the needs of debtors and creditors, that claims to

ownership of various assets be determined in the bankruptcy proceedings.”) As such, when a debtor

does not list a given asset in his or her bankruptcy disclosures, that non-disclosure is tantamount to a

sworn representation that the debtor does not have any ownership interest of any kind in that asset.

See, e.g., Amash v. Home Depot U.S.A., Inc., 12 Civ. 837 (TJM), 2013 WL 6592205, at *4 (N.D.N.Y.

Dec. 16, 2013) (failure to list claims in bankruptcy petition equivalent to debtor representing “that

[he] had no outstanding claims or lawsuits against another party”); Coffaro v. Crespo, 721 F. Supp.

2d 141, 145-46 (E.D.N.Y. 2010) (failure to list painting as asset in bankruptcy petition equivalent to

representation “that [the debtor] had no ownership interest in the Painting”).

       Thus, judicial estoppel is regularly applied to bar claims where either the claim itself or the

asset underlying the claim was not disclosed by the plaintiff as a debtor in a prior bankruptcy. See,

e.g., BPP Illinois, LLC, 859 F.3d at 194 (dismissing fraud and related claims on judicial estoppel

grounds where party previously failed to list those claims as assets in bankruptcy filings); Adelphia

Recovery Tr., 748 F.3d at 119-20 (dismissing fraudulent conveyance claim on judicial estoppel

grounds where underlying property that claim concerned was not listed as an asset owned by the

plaintiff when it was a debtor in bankruptcy); Adelphia Recovery Tr., 634 F.3d at 695-99 (dismissing

fraudulent conveyance claim on judicial estoppel grounds where plaintiff had failed to disclose claim

when it was a debtor in bankruptcy); Lapointe, 2017 WL 1397311, at *5-7 (dismissing claims against

employer for misclassifying plaintiff’s employment status on judicial estoppel grounds where

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plaintiff had failed to disclose any claims against his employer when he was a debtor in bankruptcy);

Amash, 2013 WL 6592205, at *4 (dismissing claims for FLSA violation against former employer

that plaintiff had failed to disclose in bankruptcy); Coffaro, 721 F. Supp. 2d at 146-48 (party who had

failed to disclose any ownership interest in painting was judicially estopped “from asserting a claim

to the Painting” and, as a result of that ruling, other party was deemed to “ha[ve] superior title to [the

painting]”); Galin v. United States, 08 Civ. 2508 (JFB) (ETB), 2008 WL 5378387, at *10-11

(E.D.N.Y. Dec. 23, 2008) (plaintiff’s claim predicated on allegation that “she was the equitable owner

of [certain real property]” dismissed on judicial estoppel grounds where she took the “inconsistent . .

. position during her bankruptcy filing that she had no interest in any real property”); Negron v. Weiss,

06 Civ. 1288 (CBA), 2006 WL 2792769, at *3 (E.D.N.Y. Sept. 27, 2006) (plaintiffs’ suit seeking

declaration they were lawful owners of apartment and damages from dispossession thereof dismissed

on judicial estoppel grounds where plaintiffs had failed to disclosed any interest in the apartment

when they were debtors in bankruptcy); Raizberg, 2013 WL 1245545, at *3-6 (dismissing plaintiff’s

claims for, inter alia, conversion, predicated on ownership of stocks and other corporate interests

where he failed to disclose any such assets in earlier bankruptcy); Ibok v. Siac-Sector Inc., 05 Civ.

6584 (GBD) (GWG), 2011 WL 293757, at *7 (S.D.N.Y. Feb. 2, 2011) (party who failed to disclose

employment discrimination claim in prior bankruptcy judicially estopped from later asserting claim),

report and recommendation adopted, 2011 WL 979307 (S.D.N.Y. Mar. 14, 2011), aff’d, 470 F.

App’x 27 (2d Cir. 2012). The same outcome should apply here.

       B.      Pepitone Took a Position in His Bankruptcy Proceeding that is Inconsistent with
               His Complaint

       By failing to list or reference his purported ownership interest in the Mantle Bat in his

Bankruptcy Petition (see supra at pp. 5-10), Pepitone swore under oath that he had no ownership

interest in, contract concerning, or legal claim relating to, the Mantle Bat. While Pepitone’s
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disclaiming ownership in the Mantle Bat during his bankruptcy proceeding is consistent with the truth

and the contemporaneous records showing that the Mantle Bat was donated outright to the Baseball

Hall of Fame in May 1967, that representation is fundamentally inconsistent with the positions he

advances in his Complaint. After receiving a discharge of his debts, Pepitone now alleges that the

Mantle Bat was his “personal property” and his “for the asking” for the last 54 years because he

“own[ed]” the bat that entire time, since he allegedly agreed to a mere “loan” of the bat to the Baseball

Hall of Fame in May 1967. (See supra at p. 11.) Those allegations cannot be squared with the

representations that Pepitone made in his Bankruptcy Petition or with a bankruptcy case that resulted

in the discharge of more than $130,000 worth of claims.

       Coffaro v. Crespo, 721 F. Supp. 2d 141, is directly on point. In Coffaro, when the defendant,

Crespo, filed for bankruptcy in 1994, he did not list a painting by Salvador Dali titled “Folle Folle

Folle Minerva” (the “Dali Painting”) as an asset in his bankruptcy schedules nor did he list any “art

objects” or claims against anyone for conversion or theft of the Dali Painting. See id. at 143. The

Bankruptcy Court accepted Crespo’s representations and entered an order discharging him of his

debts. See id. at 145-46. Years later, Crespo became embroiled in a dispute with the eventual

plaintiff, Coffaro, as to who was the rightful owner of the Dali Painting. In 2008, Coffaro filed suit

against Crespo seeking a declaratory judgment that he was the true owner of the Dali Painting and

bringing claims for, inter alia, conversion. See id. at 142. In ruling for the plaintiff, the court held

that Crespo was “judicially estopped from asserting ownership [of the Dali Painting] in the current

proceeding” due to his failure to list the Dali Painting as an asset in his prior bankruptcy. Id. at 145.

The court explained that Crespo had “an affirmative obligation to disclose all assets to the bankruptcy

court,” and held that, because Crespo did not list the Dali Painting or any claim related thereto, his

position in the subsequent lawsuit that he was the true owner of the Dali Painting was “clearly

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inconsistent with the position he took earlier in his bankruptcy proceeding.” Id. at 145. See also

Raizberg, 2013 WL 1245545, at *3-4 (“[p]laintiff’s claims . . . predicated on an ownership interest in

[certain stock and corporate interests] during the period of the bankruptcy proceeding” were “‘clearly

inconsistent’ with his earlier position before the bankruptcy court,” where he “represented that he

held no stock or corporate interests”).

       As with the Dali Painting in Coffaro, so too with the Mantle Bat here. Pepitone’s allegations

of continuous ownership of the Mantle Bat from 1967 through 2021 simply cannot be reconciled with

his representations to the Bankruptcy Court in 2010 that he had no ownership interest in, contract

concerning, or legal claims relating to, the Mantle Bat. At bottom, Pepitone’s entire “theory” of

recovery in his Complaint is premised on “alleg[ations] that he held, or believed he held, an ownership

interest in” an asset as to which he previously disclaimed any ownership interest before the

Bankruptcy Court. Raizberg, 2013 WL 1245545, at *4-5. Pepitone’s positions here and in the

Bankruptcy Petition present “an irreconcilable inconsistency warranting the application of judicial

estoppel.” Id.

       C.        Pepitone’s Prior Inconsistent Position Was Adopted by the Bankruptcy Court

       Pepitone never amended or supplemented his Bankruptcy Petition to disclose any interest in

the Mantle Bat: not before Judge Eisenberg entered the discharge order and not after. The discharge

order was predicated on the disclosures contained in the Bankruptcy Petition, and it relieved Pepitone

of more than $130,000 in liability to creditors. (See supra at pp. 10-11.)

       Under well-settled law, “[a] bankruptcy court is considered to have adopted a party’s assertion

in a bankruptcy proceeding when it confirms a plan in which creditors release claims against the

debtor.” Coffaro, 721 F. Supp. 2d at 146 (quoting Galin v. IRS, 563 F. Supp. 2d 332, 339 (D. Conn.

2008)). See BPP Illinois, LLC, 859 F.3d at 194 n.4 (“By confirming the plan, the bankruptcy court

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relied on BPP’s schedule of assets, thereby implicitly (but categorically) accepting the accuracy of

BPP’s list of assets.”); Lapointe, 2017 WL 1397311, at *6 (“[T]he Bankruptcy Court adopted

Plaintiff’s inconsistent position when it granted him a discharge.”) Azuike v. BNY Mellon, 962 F.

Supp. 2d 591, 598-600 (S.D.N.Y. 2013) (“[T]he bankruptcy court adopted plaintiff’s representation

that such a claim did not exist when it discharged his debts and closed the bankruptcy case.”)

Accordingly, the second element of judicial estoppel is easily met.

       D.      Allowing Pepitone to Pursue This Claim Would Give Him an Unfair Advantage

       While the Second Circuit “do[es] not always require” courts to consider whether a party would

receive an “unfair advantage” if judicial estoppel were not applied, BPP Illinois, LLC, 859 F.3d at

194 (citing In re Adelphia Recovery Tr., 634 F.3d at 695-96), that element is readily met.

       A party “obtain[s an] unfair advantage” where he fails to disclose assets or claims in a

bankruptcy proceeding and then emerges from bankruptcy, “preserving his ability to recover on [the

asset or] the claim himself.” Azuike, 962 F. Supp. 2d at 599. See BPP Illinois, LLC, 859 F.3d at 194

(“Regardless of whether (or not) BPP actually knew of its possible LIBOR claims, and whether (or

not) the claims were of great value, BPP’s assertion of the claims now would allow it to enjoy an

unfair advantage at the expense of its former creditors, who had a right to consider the claims during

the bankruptcy proceeding.”); Thomas, 2012 WL 2872164, at *8 (plaintiff’s “inconsistent positions

[in advancing claim she failed to disclose in bankruptcy] have provided her with an unfair advantage

since she has received the benefit of a discharge of her debts while still possessing the ability to

recover on her claims in full”).

       Those cases compel a finding of unfair advantage here, where Pepitone received a discharge

of his debts totaling over $130,000 through bankruptcy and would, absent judicial estoppel, be

permitted to pursue a claim to the Mantle Bat for his own benefit at the expense of his creditors.

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Allowing Pepitone to pursue recovery of millions of dollars for his personal gain based on an asset

he never disclosed to his creditors or to the Bankruptcy Court would be an “unfair advantage”

warranting the application of judicial estoppel.

       E.      Judicial Integrity Would Be Undermined if Pepitone’s Claims
               Were Allowed to Proceed

       Allowing Pepitone to pursue this lawsuit to recover an asset he failed to disclose in his

Bankruptcy Petition “would threaten the integrity of the bankruptcy process by encouraging parties

to alter their positions as to ownership of assets as they deem their litigation needs to change, leaving

courts to unravel previously closed proceedings,” and “would allow parties an opportunity to ‘play[]

fast and loose’ with the requirements of the bankruptcy process and inject an unacceptable level of

uncertainty into its results–exactly the result that the doctrine of judicial estoppel is intended to

avoid.” Adelphia Recovery Tr., 748 F.3d at 119; see In re Adelphia Recovery Trust, 634 F.3d at 696

(integrity of the judicial process is threatened where parties take a short term position that risks being

inconsistent with its future position, irrespective of whether they are “knowingly [lying]” in doing

so). That is because “the integrity of the bankruptcy system depends on full and honest disclosure by

debtors of all of their assets.” Azuike, 962 F. Supp. 2d at 599-600 (citation and internal quotation

marks omitted).

       With these principles in mind, courts forbid litigants like Pepitone from reversing course once

they emerge from bankruptcy to pursue previously disclaimed assets because of the threat such

behavior would have to the integrity of the judicial system and the bankruptcy process itself. See,

e.g., Amash, 2013 WL 6592205, at *4 (“[A]llowing Plaintiff to pursue this lawsuit absent full and

honest disclosure of his assets would violate the integrity of the bankruptcy system.”) (quoting

Ibok, 2011 WL 979307, at *3); Raizberg, 2013 WL 1245545, at *3-6 (“absent a finding of judicial

estoppel, judicial integrity would be undermined” if plaintiff were “permitt[ed] . . . to assert a contrary
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position in this case” than the one he advanced in bankruptcy); Kotbi v. Hilton Worldwide, Inc., 11

Civ. 3550 (TPG), 2012 WL 914951, at *3 (S.D.N.Y. Mar. 19, 2012) (“It would violate the integrity

of the bankruptcy system to permit a debtor to obtain relief from the bankruptcy court by representing

that no claims exist and then subsequently assert those claims for his own benefit in a separate

proceeding.”) (citation and internal quotation marks omitted).

       Pepitone should not be permitted to compromise the integrity of the bankruptcy system to

pursue his meritless claims over an asset—the Mantle Bat—he repeatedly swore under oath he did

not own. His Complaint should be dismissed on judicial estoppel grounds.

II.    THE COMPLAINT SHOULD BE DISMISSED WITH PREJUDICE

       While leave to amend a complaint should be freely given “when justice so requires,” Fed. R.

Civ. P. 15(a)(2), “[l]eave to amend should . . . be denied if any amendment would be futile.” Rother

v. NYS Dep’t of Corr. & Cmty. Supervision, 970 F. Supp. 2d 78, 91 (N.D.N.Y. 2013). “An

amendment is considered futile,” where, as here, an “amended pleading . . . would be subject to a

successful motion to dismiss.” McManus v. Tetra Tech Constr., Inc., 260 F. Supp. 3d 197, 210

(N.D.N.Y. 2017) (citation and internal quotation marks omitted). As set forth above, Pepitone is

judicially estopped from making any claim of ownership to the Mantle Bat and thus cannot bring an

action to recover the bat or to receive remuneration from allegedly being deprived of its possession,

regardless of how he may seek to amend his Complaint. (See supra at pp. 12-20.) Accordingly, his

Complaint should be dismissed with prejudice, and any motion for leave to amend should be denied.




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                                            CONCLUSION

         For the foregoing reasons, the Baseball Hall of Fame respectfully requests that the Court grant

its motion to dismiss the Complaint with prejudice.


Dated:          New York, New York
                August 20, 2021


                                               PATTERSON BELKNAP WEBB & TYLER LLP



                                               By: ____________________________________

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                                   CERTIFICATE OF SERVICE

       I, Michael F. Buchanan, hereby certify, pursuant to 28 U.S.C. § 1746, that on August 20,

2021, I electronically filed the foregoing with the Clerk of Court using the CM/ECF system, which

will automatically send e-mail notification of such filing to all counsel of record.

Dated: August 20, 2021
       New York, New York


                                        By:

                                               Michael F. Buchanan (Bar Roll #702975)




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